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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL
PROTECTION BUREAU,
Plaintiff
; 3:17-CV-101
v. : (Judge Mariani)
NAVIENT CORPORATION, et al.,
Defendants.
SPECIAL MASTER ORDER #53

NOW, THIS 9th DAY OF OCTOBER, 2019, IT IS HEREBY ORDERED THAT no
later than Friday, October 11, 2019, Plaintiff shall report in writing the time necessary to
submit a revised report of Dr. Charles H. Mullin that makes clear that his opinions are
limited to making statistically-sound mathematic calculations based upon information
provided to him from a sample of call recordings that he did not listen to, and that he will not
be expressing any opinion on the prevalence of “steering” of student loan borrowers into
forbearance or expressing any opinion on whether any particular communication between
Defendants’ representatives and student loan borrowers exhibited such “steering,” but will
instead be limited to making mathematic calculations.

| s/ Thomas |. Vanaskie

THOMAS |. VANASKIE
SPECIAL MASTER

 
